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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
GERARDO MOTA BAUTISTA, HUGO BAUTISTA,
JUAN LUIS OVANDO ZEPEDA, JUAN ZEPEDA,
JULIO RICARDO ALVAREZ MACATOMA,                                            19-CV-8808
LEONCIO TORRES ACUNA, MARIO MORALES
ROJAS, OMAR RODRIGUEZ, and ANTONIO                                      PLAINTIFF HUGO
LIMON HERNANDEZ                                                      BAUTISTA’S RESPONSES
Individually and on behalf of others similarly,                         & OBJECTIONS TO
individually and on behalf of others similarly situated,              DEFENDANTS CARBEN
                                                                        INDUSTRIES INC.,
                                    Plaintiff,                         CARBEN CONCRETE
                                                                          INC., CARBEN
         -against-                                                    CONSTRUCTION INC.,
                                                                      ANTHONY DERASMO,
 COUNTY-WIDE MASONRY CORP., CARBEN                                    ANTHONY LOGIUDICE,
 INDUSTRIES INC., CARBEN CONCRETE INC.,                                    and RONALD
 CARBEN CONSTRUCTION INC., ANTHONY                                    BROWNING’S SECOND
 DERASMO, ANTHONY LOGIUDICE, RONALD                                           SET OF
 BROWNING and MARTIN DOE a/k/a PERU,                                   INTERROGATORIES
                       Defendants.

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       Plaintiff Hugo Bautista (“Plaintiff Bautista”) by and through the undersigned counsel,
hereby responds to Defendants Carben Industries, Inc., Carben Concrete, Inc., Carben
Construction, Inc., Anthony LoGiudice, and Ronald Browning’s Second Set of Interrogatories
(“Requests”) in accordance with the following objections.

        The Responses herein reflect the knowledge of Plaintiffs as of the date of the Responses,
and Plaintiffs’ Responses involve an ongoing investigation into the Defendant’s Requests.
Plaintiffs’ responses are made subject to each of the General Objections, Comments and
Qualifications listed below, and such other objections as may be stated in the individual responses.
Plaintiff Limon reserves his right to amend or supplement these Responses pursuant to Federal
Rule 26(e)(1) as becomes necessary and appropriate.



                        Specific Responses & Objections to Interrogatories


        1.       With respect to the construction Project located at 120 Water Street, NY, NY as
referenced in your Complaint, state the name of the company who you believe employed you to provide
labor for this Project.
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ANSWER: Countywide
        2.       With respect to the construction Project located at 70 Schemerhorn St., Brooklyn, NY, as
referenced in your Complaint, state the name of the company who you believe employed you to provide
labor for this Project.

ANSWER: Countywide

Dated: July 11, 2022
       New York, New York

                                                /s/
                                                Catalina Sojo
                                                CSM LEGAL, P.C.
                                                60 East 42nd Street, Suite 4510
                                                New York, New York 10165
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                                                Attorneys for Plaintiffs




TO:

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